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15                       UNITED STATES DISTRICT COURT
16                    SOUTHERN DISTRICT OF CALIFORNIA
17
18    PEOPLE OF THE STATE OF               CASE NO. 18-cv-2050-JM-JLL
      CALIFORNIA, ex. rel. THE
19
      REGIONAL WATER QUALITY               THE INTERNATIONAL
20    CONTROL BOARD, SAN IEGO              BOUNDARY & WATER
21    REGION,                              COMMISSION-UNITED STATES
                        Plaintiff,         SECTION’S ANSWER TO
22      v.                                 PLAINTIFF’S COMPLAINT
23
      THE INTERNATIONAL
24
      BOUNDARY & WATER
25    COMMISSION – UNITED
26    STATES SECTION, et al.
                      Defendants.
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     Answer to Plaintiff’s Complaint
     Case No. 3:18cv2050-JM-JLL
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 1                                    INTRODUCTION
 2         1.     The allegations in Paragraph 1 characterize the Complaint and are
 3   conclusions of law, to which no response is required. To the extent that a response
 4   is required, the allegations are denied.
 5         2.     The USIBWC admits the allegations in Paragraph 2.
 6         3.     The allegations in Paragraph 3 characterize the Complaint and are
 7   conclusions of law, to which no response is required. To the extent that a response
 8   is required, the allegations are denied.
 9         4.     The allegations in Paragraph 4 are conclusions of law to which no
10   response is required. To the extent that a response is required, the allegations are
11   denied.
12         5.     The allegations in Paragraph 5 are conclusions of law to which no
13   response is required. To the extent that a response is required, the allegations are
14   denied.
15                                     JURISDICTION
16          6.    The allegations in Paragraph 6 characterize the Complaint and are
17   conclusions of law, to which no response is required. To the extent that a
18   response is required, the allegations are denied.
19          7.    The first sentence in Paragraph 7 characterizes Executive Order
20   12467, 49 Fed. Reg. 11139 (March 6, 1984), which speaks for itself and is the
21   best evidence of its contents. Any allegations contrary to Executive Order
22   12467’s plain language, meaning, or context are denied. The USIBWC admits
23   that under the 1944 Treaty Between the United States and Mexico Respecting
24   Utilization of the Waters of the Colorado and Tijuana Rivers and of the Rio
25   Grande (“the 1944 Treaty”), Feb. 3, 1944, 59 Stat. 1219, T.S. No. 994, the
26   United States shall have exclusive control over works constructed within its
27   borders. The USIBWC otherwise denies the allegations in Paragraph 7’s second
28   sentence.
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 1         8.    The allegations in Paragraph 8 are conclusions of law to which no
 2   response is required. To the extent that a response is required, the allegations are
 3   denied.
 4         9.    The USIBWC admits that it received a notice of the Plaintiff’s intent
 5   to sue for violations of the Clean Water Act on May 14, 2018, that more than
 6   sixty days have passed, and that a copy of Plaintiff’s notice letter is attached as
 7   Exhibit 1 to the Complaint.
 8                                         VENUE
 9         10. The allegations in Paragraph 10 are conclusions of law to which no
10   response is required. To the extent that a response is required, the allegations are
11   denied.
12                                       PARTIES
13         11. The USIBWC admits the allegations in Paragraph 11.
14         12. The USIBWC admits the allegations in Paragraph 12.
15         13. The USIBWC admits the allegations in the first sentence of
16   Paragraph 13. The allegations in Paragraph 13’s second sentence are conclusions
17   of law to which no response is required. To the extent that a response is required,
18   the allegations are denied.
19         14. The USIBWC admits the allegations in the first sentence of
20   Paragraph 14. The USIBWC admits that the 1994 Treaty calls on both the
21   United States and Mexico to “give preferential attention to the solution of all
22   border sanitation problems,” through the construction of “sanitary measures or
23   works which may be mutually agreed upon by the two Governments.” 1944
24   Treaty, Art. 3. To the extent that Paragraph 14 alleges that USIBWC has a
25   unilateral legal obligation to address transboundary waste, it mischaracterizes the
26   1944 Treaty and on that basis is denied. The USIBWC admits that construction
27   began in 1996 on the South Bay International Water Treatment Plant (“the
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     Answer to Plaintiff’s Complaint
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 1   Plant”), South Bay Ocean Outfall, and canyon collectors, but otherwise denies
 2   the allegation in Paragraph 14’s third sentence.
 3               a) The USIBWC admits the allegations in Paragraph 14(a).
 4               b) The USIBWC admits that it owns five canyon collectors, located in
 5   north-draining, border-spanning canyons and ravines. USIBWC further admits
 6   that each of the five canyon collectors consists, in part, of a shallow retention
 7   basin and screen covered drain, and that flows that enter the collectors’ drains are
 8   redirected to the Plant for treatment to secondary standards in accordance with the
 9   USIBWC’s NPDES permit.
10               c) The USIBWC admits the allegations in Paragraph 14(c).
11         15.      The USIBWC admits only that the Plant, canyon collectors, and
12   pump stations are regulated under a NPDES permit issued by the San Diego
13   Water Board. The allegations in Paragraph 15’s second sentence characterize the
14   Complaint and are conclusions of law, to which no response is required. To the
15   extent a response is required, the allegations are denied.
16         16.      The USIBWC admits that Jose Nuñez is the Acting Commissioner of
17   the USIBWC. The remaining allegations in Paragraph 16 are conclusions of law
18   to which no response is required. To the extent a response is required, the
19   allegations are denied.
20        CLEAN WATER ACT AND NPDES PERMIT REQUIREMENTS
21         17.      The allegations in Paragraph 17 characterize 33 U.S.C. § 1251(a),
22   which speaks for itself and is the best evidence of its contents. Any allegations
23   contrary to the statute’s plain language, meaning, or context are denied.
24         18.      The allegations in Paragraph 18 characterize 33 U.S.C. §§ 1251(a)(1)
25   and (3), 1342, 1311(a), and 40 C.F.R. §§ 122, et seq. Those statutory and
26   regulatory provisions speak for themselves and are the best evidence of their
27   contents. Any allegations contrary to the statute’s or regulation’s plain language,
28   meaning, or context are denied.
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 1         19.    The allegations in Paragraph 19 characterize 33 U.S.C. §§ 1251(d),
 2   and 1342(a) and (b). Those statutory provisions speak for themselves and are the
 3   best evidence of their contents. Any allegations contrary to the statute’s plain
 4   language, meaning, or context are denied.
 5         20.    The allegations in Paragraph 20 characterize the Porter-Cologne
 6   Water Quality Act, California Water Code sections 174, 13001, 13260–13276,
 7   and 13370–13390. Those statutory provisions speak for themselves and are the
 8   best evidence of their contents. Any allegations contrary to the statute’s plain
 9   language, meaning, or context are denied.
10         21.    The allegations in Paragraph 21 characterize California Water Code
11   sections 13000, 13050(f), 13241, 13263, and 13377, and 40 C.F.R. §§ 131.2,
12   130.3. Those statutory and regulatory provisions speak for themselves and are the
13   best evidence of their contents. Any allegations contrary to the statute’s or
14   regulation’s plain language, meaning, or context are denied.
15         22.    The USIBWC admits the allegations in the first two sentences of
16   Paragraph 22. The allegations in Paragraph 22’s third sentence characterize
17   California Water Code sections 13050(j), 13170, 13240, and 13241. Those
18   statutory provisions speak for themselves and are the best evidence of their
19   contents. Any allegations contrary to the statute’s plain language, meaning, or
20   context are denied.
21         23.    The allegations in Paragraph 23 characterize California Water Code
22   section 13376 and 33 U.S.C. §§ 1311 and 1342. Those statutory provisions speak
23   for themselves and are the best evidence of their contents. Any allegations
24   contrary to the statutes’ plain language, meaning, or context are denied.
25         24.    The allegations in Paragraph 24 characterize California Water Code
26   section 13383 and 33 U.S.C. § 1342. Those statutory provisions speak for
27   themselves and are the best evidence of their contents. Any allegations contrary
28   to the statutes’ plain language, meaning, or context are denied.
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 1           25.     The allegations in Paragraph 25 are conclusions of law to which no
 2   response is required. To the extent that a response is required, the allegations are
 3   denied.
 4                               FACTUAL BACKGROUND
 5      I.         USIBWC IS RESPONSIBLE FOR RESOLVING CROSS-BORDER
 6                 POLLUTION WITHIN THE TIJUANA RIVER WATERSHED.
 7           26.     The USIBWC admits the allegations in Paragraph 26.
 8           27.     The USIBWC lacks knowledge and information sufficient to admit
 9   or deny the allegations in Paragraph 27.
10           28.     The USIBWC admits the allegations in Paragraph 28.
11           29.     The USIBWC admits the allegations in Paragraph 29’s first sentence.
12   The USIBWC lacks knowledge and information sufficient to admit or deny the
13   allegations in Paragraph 29’s second and third sentences. The amount of
14   untreated waste that flows uncaptured from Tijuana into the United States has
15   declined significantly since the construction of the Plant; to the extent that
16   Paragraph 29’s fourth sentence alleges otherwise, it is denied. The USIBWC
17   admits the allegations in Paragraph 29’s last sentence.
18           30.     The USIBWC lacks knowledge and information sufficient to admit
19   or deny the allegations in Paragraph 30.
20           31.     The USIBWC admits that the 1944 Treaty calls on both the United
21   States and Mexico to “give preferential attention to the solution of all border
22   sanitation problems,” through the construction of “sanitary measures or works
23   which may be mutually agreed upon by the two Governments.” 1944 Treaty, art.
24   3. The USIBWC admits the allegations in Paragraph 31’s second sentence. The
25   USIBWC admits only that the 1944 Treaty provides that the United States and
26   Mexico shall have exclusive control over works located within their respective
27   borders, but otherwise denies the allegations in Paragraph 31’s last sentence.
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     Answer to Plaintiff’s Complaint
     Case No. 3:18cv2050-JM-JLL                                                       5
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 1               32.     The USIBWC admits only that the IBWC may record its decisions in
 2   documents called Minutes, which function as binational executive agreements
 3   when approved by the governments of the United States and Mexico. The
 4   USIBWC otherwise denies the allegations in Paragraph 32’s first sentence. The
 5   USIBWC admits the allegations in Paragraph 32’s second and third sentences.
 6               33.     The USIBWC admits only that it designed the canyon collectors to
 7   capture dry weather transboundary flows, consistent with the Plant’s capacity to
 8   safely handle such flows. Flows that exceed the Plant’s capacity are not captured
 9   by the canyon collectors and diverted to the Plant. The remaining allegations in
10   Paragraph 33 characterize the impacts of an unspecified quantity of transboundary
11   flow of unspecified provenance; the USIBWC lacks knowledge and information
12   sufficient to admit or deny these allegations.
13               34.     The USIBWC admits the allegations in Paragraph 34’s first, fourth,
14   and fifth sentences. The USIBWC otherwise denies the allegations in Paragraph
15   34.
16               35.     The USIBWC denies that transboundary flows go uncaptured by the
17   canyon collectors because the collectors are improperly maintained or operated.
18   The UISBWC otherwise admits the allegations in Paragraph 35.
19               36.     The USIBWC admits the allegations in Paragraph 36.
20               37.     The USIBWC admits the allegations in Paragraph 37.
21         II.         USIBWC’S NPDES PERMIT REQUIREMENTS
22               38.     The USIBWC admits the allegations in Paragraph 38’s first sentence.
23   Paragraph 38’s second sentence characterizes California Water Code section
24   13050(d), which speaks for itself and is the best evidence of its contents. Any
25   allegations contrary to the statute’s plain language, meaning, or context are
26   denied.
27               39.     The USIBWC admits the allegations in Paragraph 39.
28               40.     The USIBWC admits the allegations in Paragraph 40’s first sentence.
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     Answer to Plaintiff’s Complaint
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 1   Unlawful Discharges
 2            a) Paragraph 40(a) characterizes the USIBWC’s NPDES permit, which
 3   speaks for itself and is the best evidence of its contents. Any allegations contrary
 4   to the NPDES permit’s plain language, meaning, or context are denied.
 5            b) Paragraph 40(b) characterizes the USIBWC’s NPDES permit, which
 6   speaks for itself and is the best evidence of its contents. Any allegations contrary
 7   to the NPDES permit’s plain language, meaning, or context are denied.
 8            c) Paragraph 40(c) characterizes the USIBWC’s NPDES permit, which
 9   speaks for itself and is the best evidence of its contents. Any allegations contrary
10   to the NPDES permit’s plain language, meaning, or context are denied.
11            d) Paragraph 40(d) characterizes the USIBWC’s NPDES permit, which
12   speaks for itself and is the best evidence of its contents. Any allegations contrary
13   to the NPDES permit’s plain language, meaning, or context are denied.
14            e) Paragraph 40(e) characterizes the USIBWC’s NPDES permit, which
15   speaks for itself and is the best evidence of its contents. Any allegations contrary
16   to the NPDES permit’s plain language, meaning, or context are denied.
17   Maintenance of the Facilities
18            f) Paragraph 40(f) characterizes the USIBWC’s NPDES permit, which
19   speaks for itself and is the best evidence of its contents. Any allegations contrary
20   to the NPDES permit’s plain language, meaning, or context are denied.
21   Spill Prevention and Response Requirements
22            g) Paragraph 40(g) characterizes the USIBWC’s NPDES permit, which
23   speaks for itself and is the best evidence of its contents. Any allegations contrary
24   to the NPDES permit’s plain language, meaning, or context are denied.
25            h) Paragraph 40(h) characterizes the USIBWC’s NPDES permit, which
26   speaks for itself and is the best evidence of its contents. Any allegations contrary
27   to the NPDES permit’s plain language, meaning, or context are denied.
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     Answer to Plaintiff’s Complaint
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 1            i) Paragraph 40(i) characterizes the USIBWC’s NPDES permit, which
 2   speaks for itself and is the best evidence of its contents. Any allegations contrary
 3   to the NPDES permit’s plain language, meaning, or context are denied.
 4            j) Paragraph 40(j) characterizes the USIBWC’s NPDES permit, which
 5   speaks for itself and is the best evidence of its contents. Any allegations contrary
 6   to the NPDES permit’s plain language, meaning, or context are denied.
 7            k) Paragraph 40(k) characterizes the USIBWC’s NPDES permit, which
 8   speaks for itself and is the best evidence of its contents. Any allegations contrary
 9   to the NPDES permit’s plain language, meaning, or context are denied.
10   Monitoring and Reporting Requirements
11            l) Paragraph 40(l) characterizes the USIBWC’s NPDES permit, which
12   speaks for itself and is the best evidence of its contents. Any allegations contrary
13   to the NPDES permit’s plain language, meaning, or context are denied.
14            m) Paragraph 40(m) characterizes the USIBWC’s NPDES permit, which
15   speaks for itself and is the best evidence of its contents. Any allegations contrary
16   to the NPDES permit’s plain language, meaning, or context are denied.
17            n) Paragraph 40(n) characterizes the USIBWC’s NPDES permit, which
18   speaks for itself and is the best evidence of its contents. Any allegations contrary
19   to the NPDES permit’s plain language, meaning, or context are denied.
20   Receiving Water Limitations
21            o) Paragraph 40(o) characterizes the USIBWC’s NPDES permit, which
22   speaks for itself and is the best evidence of its contents. Any allegations contrary
23   to the NPDES permit’s plain language, meaning, or context are denied.
24            p) Paragraph 40(p) characterizes the USIBWC’s NPDES permit, which
25   speaks for itself and is the best evidence of its contents. Any allegations contrary
26   to the NPDES permit’s plain language, meaning, or context are denied.
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     Answer to Plaintiff’s Complaint
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 1      III.     USIBWC Facilities Failed To Comply With Its NPDES Permit
 2         41.     The USIBWC admits that it has reported to the San Diego Water
 3   Board, ten Type A Flow Events and one Facilities Spill Event, since April 2015.
 4   The USIBWC denies that the transboundary flow on April 30, 2017, was a Type
 5   A, not a Type B, Flow Event. The USIBWC admits that it reported a Facilities
 6   Spill Event that occurred on February 27, 2018.
 7         42.     The USIBWC admits that the Type A Flow Events and Facilities
 8   Spill Event listed in Table A did not occur at the South Bay Ocean Outfall. The
 9   UISBWC denies that Type A Flow Events are subject to Discharge Prohibition
10   III.A of the NPDES permit, and on this basis denies the remaining allegation in
11   Paragraph 42.
12         43.     The USIBWC denies the allegations in Paragraph 43.
13         44.     The USIBWC denies the allegations in Paragraph 44.
14         45.     The USIBWC denies the allegations in Paragraph 45.
15         46.     The USIBWC admits the allegations in Paragraph 46.
16         47.     The USIBWC admits that it did not take samples from the Type A
17   Flow Events on May 21 and May 24, 2017, or the Type B Flow Event on April
18   30, 2017. The USIBWC otherwise denies the allegations in Paragraph 47’s first
19   sentence. The allegations in Paragraph 47’s second sentence are unclear. The
20   USIBWC admits only that samples taken from the Type A Flow Events listed in
21   Table A had levels of enterococcus and fecal coliform bacteria that exceeded
22   numerical limitations applicable to waters designated by the Water Board for
23   contact recreation. The USIBWC otherwise denies the allegations in Paragraph
24   47’s second sentence. The USIBWC admits the allegations in Paragraph 47’s last
25   sentence.
26         48.     The allegations in Paragraph 48 characterize the NPDES permit,
27   which speaks for itself and is the best evidence of its contents. Any allegations
28   contrary to the NPDES permit’s plain language, meaning, or context are denied.
     ______________________________________________________________________________

     Answer to Plaintiff’s Complaint
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 1         49.    The USIBWC admits the allegations in Paragraph 49’s first sentence.
 2   Based on the information contained in the USIBWC’s Monthly Receiving Waters
 3   Monitoring Reports, the USIBWC admits that shoreline station monitoring
 4   showed exceedances of receiving water limitations for fecal coliform bacteria
 5   during parts of January 2016, March 2017, April 2017, and May 2017. Based on
 6   the same reports, the USIBWC denies that data from shoreline monitoring stations
 7   showed exceedances of receiving water limitations for fecal coliform bacteria
 8   during September 2016, June 2017, or October 2017. The USIBWC admits the
 9   allegations in Paragraph 49’s last sentence.
10         50.    The USIBWC denies the allegations in Paragraph 50.
11         51.    The USIBWC denies the allegations in Paragraph 51.
12         52.    The USIBWC admits that it did not obtain samples for the Type A
13   Flow Events on May 21 and May 24, 2017, or for the Type B Flow Event on April
14   30, 2017.
15         53.    The USIBWC admits that it did not test or report the test results for
16   the six pesticides listed in Paragraph 53. The USIBWC also admits that it did not
17   test or report test results for chronic toxicity, tetrachlorodibenzo-p-dioxin, and/or
18   asbestos for the Type A Flow Events on January 29, 2016, September 5, 2016, and
19   April 24, 2017.
20         54.    The USIBWC admits the allegations in Paragraph 54’s first three
21   sentences. Sentences four and five characterize USIBWC’s NPDES permit,
22   which speaks for itself and is the best evidence of its contents. Any allegations
23   contrary to the NPDES permit’s plain language, meaning, or context are denied.
24   The USIBWC admits the allegations in the fifth sentence of Paragraph 54. The
25   USIBWC denies the allegations in Paragraph 54’s last sentence.
26         55.    The USIBWC admits only that it convened, with EPA, a workshop in
27   San Diego on December 12, 2017, which the Water Board hosted at its office.
28   The remaining allegations in Paragraph 55 are denied. The Water Board’s list of
     ______________________________________________________________________________

     Answer to Plaintiff’s Complaint
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 1   “priority action items,” and USIBWC’s response thereto, speak for themselves
 2   and are the best evidence of their contents; any allegations contrary to their plain
 3   language, meaning, or context are denied. The remaining allegations in Paragraph
 4   55 are denied.
 5                               FIRST CLAIM FOR RELIEF
 6         (Violations of Section 301 of the Clean Water Act; 33 U.S.C. § 1311.)
 7          56.      The USIBWC restates its responses to Paragraphs 1–55.
 8          57.      The USIBWC admits the allegations in Paragraph 57.
 9          58.      The USIBWC admits the allegations in Paragraph 58.
10          59.      The USIBWC admits only that the canyon collectors are designed to
11   redirect to the Plant for treatment, dry weather transboundary flows of wastewater
12   that pass through north-draining canyons and ravines. The USIBWC also admits
13   that the collectors are designed to redirect only those flows that the Plant can
14   safely treat.
15          60.      The allegations in Paragraph 60 are legal conclusions to which no
16   response is required. To the extent that a response is required, the allegations are
17   denied.
18          61.      The USIBWC denies the allegations in Paragraph 61.
19          62.      The USIBWC denies the allegations in Paragraph 62.
20          63.      The USIBWC denies the allegations in Paragraph 63.
21          64.      The USIBWC admits that the eleven transboundary flow events
22   listed in Table A occurred during dry weather. The Facilities Spill Event that
23   occurred on February 27, 2018 occurred during wet weather.
24          65.      The USIBWC admits that it does not hold a NPDES permit expressly
25   that permits the discharge of pollutants from the canyon collectors in dry weather,
26   but denies that the uncaptured flow of water through the canyon collectors
27   requires a NPDES permit. To the extent that Paragraph 65 alleges otherwise, it is
28   denied.
     ______________________________________________________________________________

     Answer to Plaintiff’s Complaint
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 1         66.      USIBWC denies the allegations in Paragraph 66.
 2         67.      The allegations in Paragraph 67 are legal conclusions to which no
 3   response is required. To the extent that a response is required, the allegations are
 4   denied.
 5         68.      The USIBWC admits the allegations in Paragraph 68.
 6         69.      The allegation in Paragraph 69 is a legal conclusion to which no
 7   response is required. To the extent that a response is required, the allegation is
 8   denied.
 9         70.      The USIBWC denies the allegations in Paragraph 70.
10         71.      The USIBWC denies the allegations in Paragraph 71.
11         72.      The allegations in Paragraph 72 are legal conclusions to which no
12   response is required. To the extent that a response is required, the allegations are
13   denied.
14         73.      The USIBWC denies the allegations in Paragraph 73.
15         74.      The USIBWC admits the allegation in Paragraph 74.
16         75.      The allegations in Paragraph 75 are legal conclusions to which no
17   response is required. To the extent a response is required, the allegations are
18   denied.
19                            SECOND CLAIM FOR RELIEF
20         76.      The USIBWC restates its responses to Paragraphs 1–75.
21         77.      The allegations in Paragraph 77 characterize the Complaint and are
22   conclusions of law, to which no response is required. To the extent that a
23   response is required, the allegations are denied.
24         78.      The allegation in Paragraph 78 is a legal conclusion to which no
25   response is required. To the extent that a response is required, the allegation is
26   denied.
27               a) The allegations in Paragraph 78(a) characterize the USIBWC’s
28   NPDES permit, which speaks for itself and is the best evidence of its contents.
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     Answer to Plaintiff’s Complaint
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 1   Any allegations contrary to the NPDES permit’s plain language, meaning, or
 2   context are denied.
 3               b) The USIBWC denies the allegations in Paragraph 78(b)
 4               c) The USIBWC denies t the allegations in Paragraph 78(c).
 5               d) The allegations in Paragraph 78(d) are legal conclusions to which no
 6   response is required. To the extent that a response is required, the allegations are
 7   denied.
 8               e) The allegation in Paragraph 78(e) is a legal conclusion to which no
 9   response is required. To the extent that a response is required, the allegation is
10   denied.
11               f) The allegations in Paragraph 78(f) are legal conclusions to which no
12   response is required. To the extent that a response is required, the allegations are
13   denied.
14               g) The USIBWC denies the allegations in Paragraph 78(g).
15               h) The allegations in Paragraph 78(h)’s first sentence are conclusions of
16   law to which no response is required. To the extent a response is required, the
17   allegations are denied. The USIBWC denies the remaining allegations in
18   Paragraph 78(h).
19               i) The USIBWC lacks knowledge and information sufficient to admit
20   or deny the allegations in Paragraph 78(i).
21               j) The allegations in Paragraph 78(j) are legal conclusions to which no
22   response is required. To the extent a response is required, the allegations are
23   denied.
24         79.      The allegations in Paragraph 79 are legal conclusions to which no
25   response is required. To the extent a response is required, the allegations are
26   denied.
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     Answer to Plaintiff’s Complaint
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 1                a)    Paragraph 79(a) characterizes the USIBWC’s NPDES permit, which
 2   speaks for itself and is the best evidence of its contents. Any allegations contrary
 3   to the NPDES permit’s plain language, meaning, or context are denied.
 4                b) The USIBWC denies the allegations in Paragraph 79(b).
 5                c) The USIBWC admits that it did not test or report the test results for
 6   the pesticides referenced on Table E-10 of the NPDES permit. The USIBWC also
 7   admits that it did not test or report test results for chronic toxicity,
 8   tetrachlorodibenzo-p-dioxin, and/or asbestos for the Type A Flow Events on
 9   January 29, 2016, September 5, 2016, and April 24, 2017. The USIBWC
10   otherwise denies the allegations in Paragraph 79(c).
11                d) The allegations in Paragraph 79(d) are legal conclusions to which no
12   response is required. To the extent that a response is required, the allegations are
13   denied.
14                e) The allegations in Paragraph 79(e) are legal conclusions to which no
15   response is required. To the extent that a response is required, the allegations are
16   denied.
17          80.        The allegations in Paragraph 80 are legal conclusions to which no
18   response is required. To the extent that a response is required, the allegations are
19   denied.
20                a) The USIBWC admits the allegations in Paragraph 80(a).
21                b) The USIBWC denies the allegations in Paragraph 80(b).
22                c) The USIBWC admits only that eleven of the events listed in Table A
23   of the Complaint occurred after July 31, 2015, but otherwise denies the allegations
24   in Paragraph 80(c) as worded.
25                d) The USIBWC denies the allegations in Paragraph 80(d).
26                e) The allegations in Paragraph 80(e) are legal conclusions to which no
27   response is required. To the extent a response is required, the allegations are
28   denied.
     ______________________________________________________________________________

     Answer to Plaintiff’s Complaint
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 1         81.      The USIBWC denies the allegations in Paragraph 81.
 2               a) The USIBWC admits the allegations in Paragraph 81(a).
 3               b) The USIBWC denies the allegations in Paragraph 81(b).
 4               c) The USIBWC denies that samples taken at monitoring stations in the
 5   Pacific Ocean showed exceedances of receiving water limitations in September
 6   2016. The USIBWC otherwise admits the allegations in Paragraph 81(c).
 7               d) The USIBWC denies the allegations in Paragraph 81(d).
 8               e) The allegations in Paragraph 81(e) are legal conclusions to which no
 9   response is required. To the extent that a response is required, the allegations are
10   denied.
11
12                                 PRAYER FOR RELIEF
13         The remaining paragraphs of Plaintiff’s Complaint consist of Plaintiff’s
14   request for relief, which does not require a response. To the extent a response is
15   required, Defendant denies that Plaintiff is entitled to any of the relief sought, or
16   any other relief.
17                                    GENERAL DENIAL
18         The USIBWC denies each and every allegation of the Complaint not
19   specifically admitted in its responses to the Complaint’s specific Paragraphs, set
20   forth above. To the extent that any allegations of fact in the Complaint remain
21   unanswered, the USIBWC denies such allegations.
22                                         DEFENSES
23         1.       This Court lacks subject matter jurisdiction over Plaintiff’s claims.
24         2.       The complaint fails in whole or in part to state a claim upon which
25   relief can be granted.
26         3.       To the extent that Plaintiff’s claims are partially or completely barred
27   by laches, waiver, collateral estoppel, res judicata, equitable estoppel, and/or
28   similar equitable doctrines, the claim should be dismissed.
     ______________________________________________________________________________

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 1         4      The actions of the USIBWC alleged by the Complaint are partially or
 2   completely exempt or excepted from Clean Water Act jurisdiction.
 3         5.      Defendants reserves the right to assert such affirmative defenses that
 4   may appear applicable during the course of this litigation.
 5         Wherefore, Defendants pray that this Court enter judgment in favor of the
 6   Defendants and against Plaintiff, dismiss the complaint against the Defendants,
 7   deny all of Plaintiff’s claims for relief and costs, and grant such other relief as the
 8   Court may deem just and proper.
 9
10         Respectfully submitted this 5th day of November, 2018.
11
12                                            JONATHAN D. BRIGHTBILL
13                                            Deputy Assistant Attorney General

14                                            /s/ Andrew S. Coghlan
15                                            DEBRA J. CARFORA
                                              ANDREW COGHLAN
16                                            Attorneys for Defendant
17                                            International Boundary and Water
                                              Commission, United States Section
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     Answer to Plaintiff’s Complaint
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 1                            CERTIFICATE OF SERVICE
 2          I hereby certify that, on November 5, 2018, a true and correct copy of the
 3   foregoing Memorandum of Points and Authorities in Support of the United
 4   States’ Partial Motion to Dismiss was served electronically via the Court’s e-
 5   filing system to Counsel of Record.
 6
 7
 8                                         /s/ Andrew S. Coghlan
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     Certificate of Service                                             18cv2050
